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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN IMMIGRATION LAWYERS )
ASSOCIATION, )
)

Plaintiff, )

)

v. ) Civil Action No. 13-840 (CRC)

)

EXECUTIVE OFFICE FOR IMMIGRATION )
REVIEW, U.S. DEPARTMENT OF JUSTICE, )
et al., )
)

Defendants. )

)

STIPULATION AND ORDER

The Court entered a final, appealable order in the case on November l7, 2017, fully
resolving the merits of this action. The parties subsequently filed but voluntarily dismissed cross-
appeals to the D.C. Circuit. After the D.C. Circuit entered its mandate and on plaintiffs
unopposed motions, the Court twice extended the date for plaintiff to move for an award of
attorney’s fees and to file a bill of costs, which is currently due on November 13, 2018. The
parties now stipulate and agree as follows:

l. Defendant shall pay to Public Citizen Litigation Group, counsel for plaintiff,
$158,000.00 in attomeys’ fees and costs in this matter. This sum shall constitute full and final
settlement of all claims against defendant by plaintiff for fees, costs, and expenses accrued in this
action, through the date of this stipulation.

2. The Court_retains jurisdiction to enforce the provisions of this Stipulation and Order

and its November 17, 2017, order and opinion.

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Dated: October 30, 2018

FOR THE PLAINTIFFS:

/s/ Julie Murray

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Respectfully submitted,
FOR THE DEFENDANT:

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Civil Chief

/s/ Daniel P. Schaefer

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UNITED STATES DISTRIKT JUDGE

